                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:15-CR-47-CLC-SKL
 v.                                                   )
                                                      )
 SHONTAVIS MORGAN                                     )

                                            ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the eight-count

 Superseding Indictment; (2) accept Defendant’s plea of guilty to Count One of the Superseding

 Indictment; (3) adjudicate Defendant guilty of the charges set forth in Count One of the Superseding

 Indictment; (4) defer a decision on whether to accept the amended plea agreement until sentencing;

 and (5) find Defendant shall remain in custody until sentencing in this matter [Doc. 101]. Neither

 party filed a timely objection to the report and recommendation. After reviewing the record, the

 Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation [Doc. 101] pursuant

 to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Superseding

                Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Superseding Indictment is

                ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

                Superseding Indictment;

        (4)     A decision on whether to accept the amended plea agreement is DEFERRED until




Case 1:15-cr-00047-TRM-SKL           Document 108         Filed 10/26/15     Page 1 of 2     PageID
                                           #: 497
             sentencing; and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on November 19, 2015 at 2:00 p.m. [EASTERN] before

             the Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                                /s/____________________________
                                                CURTIS L. COLLIER
                                                UNITED STATES DISTRICT JUDGE




Case 1:15-cr-00047-TRM-SKL       Document 108
                                          2     Filed 10/26/15    Page 2 of 2   PageID
                                       #: 498
